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CERTIFICATE OF SERVICE

I, Gregory A. Taylor, hereby certify that on July 8, 2014, I caused one copy of the foregoing
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